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UNITED STA TES DISTRICT Co URT
WESTERN DISTRICT OF TENNESSEE

WES TERN DIVISION

 

WILLIAM BERRESHEIM,JERRYBIVENS,JENNY MAYNARD JUDGMENT IN A CIVIL CASE
A/N/F 0F AMBER BLOCKER, A MINOR; coRA BUCKNER,

JAMES BURGER, FELICIA CALLION, TIMOTHY CLARK,

GWEN BROWNING, BURNETT coLLIER, sHIRLEY COOKSTON,
GARY CRUTCHFIELD, PHYLLIS CUMBESS, JEANNIE DALTON,
BARBARA I)EVAUL, DONALD DISNEY,

JANICE FAULKNER-HOWLETT, DAVIA FIELDS, ALICE HASTINGS,
INDIVIDUALLY AND AS REPRESENTATIVE 0F THE ESTATE 0F
DoNALD FLYE, DECEASED, JoHN FOSTER, MARTHA FROST,
FELICIA GASTELUM, ASHLEY GILLIA, CORRIE GOOCH,

KATHY HALL, cARoLYN HENRY, SAMIKO HUNTER,

PATRICIA JACKSON, WILLIAM MICHAEL JENKINS, § g :n 3 3
HORACE JOHNSON, TERRY JoNES, OTIS KELLER, AMY KEY, 3 §§ é_ rr;
KELLY LEE, PHYLLIS LOWERY, JUDY LUTTRELL, o;“§§ § o
CHARLES MARTIN, vERONICA MAUK, NORMA MoHAMED, w -i ' eng
PAUL MOSES, c.H. MURPHY, RAYMOND NELSON, ;; §_:c 35 :“‘-
sHIRLEY NESTER, SHARoN NEWBILL, LARRY PARKER, *“- w
CHRISTEEN PATTON, JESS PEASE, JR., ZINA Y. SADLER, §§ E§_“_‘.' § 7"
CLINT SANDOVAL, LISA SCARBOROUGH, WILLIAM SIMMONS, ;f£m : ;
ROMIE sTAGGS, CHARLES STEWART, JAMES STOUT, IG§ ~- g
MELVIN STRICKLAND, BARBARA SUTTON, DONALD SWEAT, 5¢3-'*<;) §§ _0
CHARLES TATE, PATRICIA TAYLOR, ROBBIE TAYLOR,
THERESA THOMAS, JANICE WAGERS, EI)WARD WATERS,
IRVINE WILLIAMS, sTEvA WILLIAMS,
Plaintiffs,
V.
ELl LILLY ANI) COMPANY, CASE NO: 05-2291-B
Defendant.

 

DECISI()N BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Stipulation Of Dismissai entered
on June 2, 2005, this cause is hereby dismissed without prejudice.

A OVED:

 

J D NIEL BREEN
NI ED STATES DISTRICT COURT

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Date Cle k of Cou/l;}
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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02291 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

